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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 MAYOR AND CITY COUNCIL OF
 BALTIMORE, et al.,

 Plaintiffs,
                                                  Case No. 1:25-cv-00458-MJM
 vs.

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,

 Defendants.



                   MEMORANDUM IN SUPPORT OF PLAINTIFFS’
               MOTION FOR LEAVE TO FILE SUPPLEMENTAL EXHIBIT

        Plaintiffs Mayor and City Council of Baltimore and Economic Action Maryland Fund

respectfully submit that the attached exhibit will aid the Court in its consideration of Plaintiffs’

pending motion for a preliminary injunction, and that it should therefore be accepted for filing.

        One of the issues before this Court concerns whether CFPB Acting Director Vought has

made a decision to transfer the CFPB’s operating funds beyond its control—a decision Defendants

have never directly denied. On February 28, Plaintiffs submitted (and this Court accepted for

filing) two declarations that had been filed in National Treasury Employees Union v. Vought, a

parallel proceeding pending in the U.S. District Court for the District of Columbia. One of those

declarations (from a pseudonymous “Blake Doe”) stated: “I have seen an email dated February 11,

2025, in which Mr. [Adam] Martinez[, the CFPB’s chief operating officer,] stated that Chief

Financial Officer Jafnar Gueye was in communications with the Federal Reserve about how to

return money to either the Federal Reserve or the Treasury.” See ECF No. 36-1 ¶ 5.
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       Yesterday, both plaintiffs and defendants in the NTEU case separately filed as exhibits a

number of internal CFPB emails. Among the emails filed by plaintiffs as exhibits in that case is a

February 11 email1 from Adam Martinez to Mark Paoletta, the CFPB’s Chief Legal Officer, and

former United States Representative James “Dan” Bishop, the nominee to serve as Deputy Director

of the Office of Management and Budget.2 The email notes that Mr. Gueye “is currently in

communications with the Federal Reserve regarding the Bureau’s ability to return money to either

Treasury or the Federal Reserve if needed.” Suppl. Ex. A.

       Plaintiffs believe that this email is likely the email referenced in the declaration of Blake

Doe previously filed by Plaintiffs. See ECF No. 36-1 ¶ 5. Even if it is not, the email demonstrates

that the CFPB has taken steps to determine how to transfer away funds currently in its control.

       Because this supplemental exhibit bears directly on issues before the Court, and to ensure

that Defendants have an adequate opportunity to respond to the exhibit (which is already in their

possession) before their deadline of tomorrow, Plaintiffs respectfully submit that it should be

entered into the record.




1
  National Treasury Employees Union v. Vought, No. 1:25-cv-00381 (D.D.C., Mar. 4, 2025),
ECF No. 57-2, at 12 (Ex. E).
2
  At the time Mr. Martinez sent the email, to the best of Plaintiffs’ knowledge, Bishop did not
hold a position in any branch of the federal government.


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Dated: March 5, 2025                Respectfully submitted,

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